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                                                             ~ ~-r,~,                    FiL~D
                                                           O~
     1    New Day Worldwide inc.
          3680 Wilshire BLVD STE 1092
     2    Los Angeles CA 90010 -      ~'"'''~~ ~                    ~'
     3
     4    Telephone: 323-393-0548                       2d 2p~9
          In Propria Persona                     u~K us o~st~;~c
     5                                               ~OURT 4612
                                        UNITED STATES DI                    CT COURT
     6
     7                                CENTRAL DISTRICT OF CALIFORNIA
     8    New Day Worldwide Inc                                     ~ Case Ndu V 1 9-       4994 8~~g;
                                           Plaintiff,                    COMPLAINT
    10    vs.
                                                                         [DEMAND FOR TRIAL BY JURY]
\1 O 11 TAYLOR
               SWIFT
~~ 12

C~r~13                                     Defendants.
    14
    15                                               INTRODUCTION
    16
                 1     Plaintiff new Day Worldwide   ;~~plaintiff' or ` NDW ') brings this lawsuit against
    17    Defendants         Taylor Swift("Swift")            (Defendant)

    18    due to Her infringement of Plaintiff's copyrighted               musical composition
    19                                                    PARTIES
    20           2.      Plaintiff NDW is a corporation registered in the state of California and thse city of
                          Los Angeles, and owns all works written by Jesse Graham an individual who
    21
                         resides in the Central District of California, Well- renown Songwriter singer.
    22          3.       Plaintiff alleges on information and belief that Defendant Taylor Swift
    23 ("Swift")is an individual who resides in the Central District of California.
    24          4.       Plaintiff is ignorant of the true names and capacities of the Defendants sued
    25   herein and therefore sues these Defendants by such fictitious names.

    26   Plaintiff will amend this Complaint to allege their true names and capacities when
    27   ascertained.
    28



         ~ Complaint
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 1            5.     At all times relevant herein, and at the time of the transactions complained
 2   of, each of the Defendants were the agent and employee of each ofthe remaining
 3   Defendants, and in doing the things hereinafter alleged, was acting within the scope of
 4   such agency.
 5                                  JURISDICTION AND VENUE
 6            6.     The Court has subject matter jurisdiction over this pursuant to 28 U.S.C. §
      1331 and 1338 because the action arises under the Copyright Act(17 U.S.C. §§ 101, et
 8   seq.).
 9            7.     Venue is proper in the Central District of California under 28 U.S.C. §
10    1400(a) because the Defendants reside or may be found within the Central District of
11   California, and personal jurisdiction may be properly exercised over the Defendants.
12                                   FACTUAL ALLEGATIONS
13            8.     Plaintiff Jesse Graham has been a songwriter since the early 1990s. Graham
14   has written hundreds ofsongs and is famous for starting many trends, including the
15   "Random Act of Kindness" movement in 2013 and the "New Day" movement.
16            9.     In 2013, Graham authored the musical composition entitled "Haters gone
17   Hate." Graham registered the Haters gone Hate musical composition with Broadcast
18   Music, Inc.("BMI")on February 5, 2013, with BMI Work # 15363757
19            10.    Graham's Haters gone Hate musical composition includes the following
20   chorus: "Haters gone hate +Haters gone hate, Playas gone play Playas gone play, watch
21   out for them fakers- they'll fake you everyday."
22            1 1.   Graham has filed an application with the United States Copyright Office to
23   register a copyright for the Haters gone Hate musical composition, and the application
24   has been assigned Case Number 1-2752485661 by the United States Copyright Office.
25            12.    Since 2013, Graham's Haters gone Hate musical composition was publicly
26   performed by Graham and broadcast and published on the Internet. The Haters gone
27   Hate musical composition has been available for purchase on iTunes, Google Play, and
28   Amazon.
                                                    -2-


     Complaint
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 1          13.   In 2014, Swift copyrighted the musical composition entitled "Shake It Off'
 2   and Swift copyrighted the "Shake It Off' musical composition under United States
 3   Copyright Office Registration Number PA0001911732 on August 19, 2014.
 4          14.   Swift's "Shake It Off' musical composition extensively copies from
 5   Graham's Haters Gone Hate musical composition. In particular, the Shake It Off musical
 6   composition has the following lyrics: "Cause the players gonna play, play, play[;] And
     the haters gonna hate, hate, hate[.]" In all, the infringed copyrighted material accounts for
 8   roughly twenty percent ofthe Shake It Off musical composition.
 9          15.   Swift undoubtedly had access to the Haters gone Hate musical composition
10   prior to writing and releasing the Shake It Off Musical Composition given the broad
11   dissemination of the Haters gone Hate musical composition.
12          16.   Swift knew or should have known that the lyrics "Haters gone hate +Haters
13   gone hate, Playas gone play Playas gone play,~~~ ch out for them fakers- they'11 fake you
14   everyday"could not be used in a musical work bydefendants without a license and/or
15   songwriting credit, as is customary standard practice in the music industry. Despite this
16   industry standard practice, Swift never sought a license or other permission from
17   Plaintiff.
18          17.   Upon its release, Swift's Shake It Off musical composition debuted at No. 1
19   on Billboard's Hot 100 chart. The song went on to become a massive worldwide hit for
20   Swift. The Shake It Off musical composition stayed on the Hot 100 for fifty weeks — 24
21   ofthem on the top 10. The Shake it Off musical composition has been certified 9x
22   Platinum by the Recording Industry Association of America("RIAA") with over
23   9,000,000 copies sold. The music video for "Shake it Off'featuring the song debuted on
24   August 18, 2014 and has approximately 2,380,831,410 views on YouTube.3 Indeed,
25   "Shake it Off' is the seventh most viewed video of all time on YouTube.4
26          18.   Swift's album 1989, for which the Shake it Off musical composition was the
27   lead single, has been certified 6x Multi-Platinum by the RIAA with over 6,000,000
28

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     Complaint
     Case 2:19-cv-09948-AB-SS Document 1 Filed 11/20/19 Page 4 of 6 Page ID #:4




 1   ~ ~ certified units sold in the United States. In addition, 1989 has sold over 10,000,000 units
 2    worldwide
 3           19.   Swift's infringing acts include, but are not limited to, unlawfully creating,
 4    recording, manufacturing, producing, selling, licensing marketing and/or distributing the
 5    Shake It Off musical composition Swift's infringement amounts to the unlawful
 6    appropriation of Graham's copyrighted material including the lyrical phrase "Haters gone
      hate[;] Players gone play[.]"
 8          20.    The Shake It Off musical composition has also been extensively licensed by
 9    Swift to various third parties for commercial and advertising uses including film,
10    advertisements, television, and video games.
11          21.    On information and belief, Swift has exploited, and continue to exploit, the
12    Shake It Off musical composition in this District, the State of California, and throughout
13    the United States and the world.
14          22.    Swift's infringement is continuing she continues to sell and license the
15    Shake It Off musical composition. Graham has informed Swift ofthe infringement, yet,
16    nevertheless, Swift has persisted in her infringement.
17                                    FIRST CAUSE OF ACTION
18                                COPYRIGHT INFRINGEMENT
19                       BY PLAINTIFF AGAINST ALL DEFENDANTS
20          23.    Plaintiff incorporates by reference the preceding allegations ofthe
21    Complaint as though fully set forth herein.
22          24.    Defendants, without authorization, have used and are using Plaintiffls Ha
23    gone Hate musical composition
24          25.    Defendants' acts of infringement have been willful, intentional, and
25    purposeful, in disregard of, and indifferent to the rights ofPlaintiff.
26          26.    As a direct and proximate result of Defendants' infringement of Plaintiff's
27   Haters gone hate musical composition and exclusive rights under the Copyright Act,
28   Defendants are liable for maximum statutory damage pursuant to 17 U.S.C. § 504(c) up
                                                    -4-


      Complaint
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 1   to $150,000 for each of the copyrights infringed, where such infringement took place on
 2   or after the effective date of registration of the copyright. Alternatively, at Plaintiff's
 3   election, pursuant to 17 U.S.C. § 504(b), Plaintiff is entitled to his actual damages plus
 4   Defendants' profits from all infringements occurring on or after the effective date of
 5   registration ofthe copyright, as will be proven at trial.
 6         27.      Plaintiff is entitled to its actual damages plus Defendants' profits from all
     infringements occurring prior to the effective date of registration ofthe copyright for the
 8   Haters gone Hate musical composition, as will be proven at trial.
 9         28.    Plaintiff is entitled to his costs, including reasonable attorneys' fees,
10   pursuant to 17 U.S.C. § 505.
11         29.    Defendants' conduct is causing, and unless enjoined by this Court, will
12   continue to cause great and irreparable injury to Plaintiff that cannot fully be
13   compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to
14   17 U.S.C. § 502, Plaintiff is entitled to preliminary and permanent injunctions requiring
15   Defendants to employ reasonable methodologies to prevent or limit infringement of
16   Plaintiff's Haters gone Hate musical composition.
1~                                    PRAYER FOR RELIEF
18         WHEREFORE,Plaintiff prays that the Court grant the following relief:
19         a.     General damages in an amount to be proven at trial, but not less than
20 $42,000,000;
21         b.     Preliminary and permanently enjoin Defendants, as well as the Defendants'
22   officers, agents, servants, employees, and attorneys, and all persons in active concert or
23   participation with Defendants, from use of Plaintiff's Haters gone Hate work.
24         c.     Find Defendants liable for infringement ofthe Haters gone Hate musical
25   composition;
26         d.     Order an award to Plaintiff of all actual damages, in the minimum amount of
27   $42,000,000.00, and an accounting of any gains, profits, and advantages derived by
28   Defendants resulting from the infringing acts complained of herein;
                                                   -5-


     Complaint
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 1         e.     exemplary and punitive damages;
 2         f.     attorney's fees and other litigation costs;
 3         g.     costs of court;
 4         h.     prejudgment interest on all damages and/or profits awarded by the Court;
 5         i.     such other and further relief to which they maybe justly entitled.
 6                              DEMAND FOR TRIAL BY JURY
           Plaintiff _              demands a trial by jury on all claims so triable. n
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                                            Bv:                    U
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     Complaint
